Case 7:18-cr-01418 Document 1 Filed in TXSD on 08/08/18 Page 1 of 2

AO 91 (Rev. 08/09) Criminal Complaint

UNITED STATES DISTRICT CoURT

for the
Southern District of Texas

 

 

United States of America )
Dagoberto FERNANDEz-oviivo § Case NO_ NL, [3~ /Q 32 - /lA
YOB: 1967, COC lVlEX )
)
n )
Defendant(s)
CRIMINAL COMPLAINT

I, the complainant in this case, state that the following is true to the best of my knowledge and belief.

 

On or about the date(s) of August 7, 2018 in the county.of Starr in the
Southern DiS'friCt Gf Texas , the defendant(s) violated:
Code Section Q]j%nse Des_cri tion
Knowing|y and unlawfu||y, being an alien in he United States unlawfully in the
18 United States Code 922(9) United States; or admitted ln the United States under a nonimmigrant visa,
shipped or transported in interstate of foreign commerce, or possessed in or
_ 8 United States Code 1326 affecting commerce of one (‘l) AR-15 Rifle and one (1) .40 caliber Pistol

A native and citizen of the |V|exico, and an alien who had been previously
deported from the U.S after having been convicted of an aggravated felony,
was unlawfully found in the U.S. in Roma, Texas, the said defendant having

not obtained the consent of the Attorney Genera| or the Secretary of Homeland
Security of the United States for application by the defendant for readmission

This criminal complaint is based on these facts:

SEE ATTACH|V|ENT “A"

/ Continued on the attached sheet.

 

Javler Sa|inas HS| TFO
Printed name and title

il z § ’ ` / Complainant’s signature

Swom to before me and signed in my presence
Dare: 08/03/2018 37 ' /) d ‘4»~ //VC @/""M“/L7
Judge’ s signature `

City and state: lVchllen, Texas _ Peter Ormsby, U.S. lV|agistrate Judge
Prl`nted name and title

Case 7:18-cr-01418 Document 1 Filed in TXSD on 08/08/18 Page 2 of 2

ATTACHMENT A

On August 7 , 2018, Homeland Security Investigations (HSI), Special Agents (SA) from the
office of the Resident Agent in Charge, Falcon Dam, TeXas (RAC/FD) responded to the
Rio Grande City Border Patrol Station, relating to the apprehension of one (l)
undocumented alien (UDA) in possession of one (l) Beretta .40 caliber semi-automatic

pistol loaded With ten (l()) rounds of ammunition and one (l) Rock River Arms AR-l$
7 rifle.

On August 7 , 2018 at approximately 10:02 A.M. Roma Police Department Was dispatched
to a residence in Roma, TX regarding shots fired. Upon arrival at the residence, a male
subject later identified as Dagoberto FERNANDEZ-Olivo, Was encountered sitting in his
living room couch and Was questioned regarding the discharge of a firearm.
FERNANDEZ-Olivo stated to police officers that he fired five (5) shots from his AR-l$
semi-automatic rifle into the air.

Roma Police Officers obtained consent to search the residence Where they discovered a .40
Caliber pistol underneath the sofa cushion Where FERNANDEZ-Olivo Was previously
sitting A further search of the residence yielded the discovery of an AR-l§ semi-
automatic rifle. FERNANDEZ-Olivo Was detained and cited for Discharging a Firearm
Within city limits. The U.S. Border Patrol station Was contacted by the Roma Police
Department to determine alienage. Agents determined that FERNANDEZ-Olivo Was
present in the United States illegally and Was not in possession of any documents allowing
him to remain in the United States.

HSI TFO arrived at the Rio Grande City Border Patrol Station and identified himself to
FERNANDEZ-()livo and provided FERNANDEZ-Olivo his Miranda Rights in the Spanish
language FERNANDEZ-Olivo read his rights, and stated that he understood his rights.
FERNANDEZ-Olivo agreed to give HSI TFO a statement Without the presences of an
attorney.

FERNANDEZ-Olivo stated that he is a national and citizen of MeXico Who is currently
present in the U.S. Without the proper Immigration documents FERNANDEZ-Olivo
stated to the HSI TFO that he had discharged flve (5) rounds from the AR-l§ into the air
for no reason. FERNANDEZ-Olivo stated that he knew it is illegal to possess firearms
While being illegally present in the United States.

The Beretta .40 caliber semi-automatic pistol and the Rock River Arms semi-automatic
AR-lS Were manufactured outside the State of Texas. Markings`on the pistol indicate the
pistol was manufactured in Gardone, Vermont and markings on the AR-l§ indicate it yvas
manufactured in Colona, Illinois.

